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__________________________________________________________________
                                              SO ORDERED,



                                             Judge Neil P. Olack
                                             United States Bankruptcy Judge
                                             Date Signed: June 8, 2018

              The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________

                        UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF MISSISSIPPI

IN RE:

         COMMUNITY HOME FINANCIAL                                     CASE NO. 12-01703-NPO
         SERVICES, INC.,


               DEBTOR.                                                           CHAPTER 11

                                 ORDER EXTENDING STAY

       Upon consideration of the Motion for Abandonment and Relief from the Automatic Stay

(Real Property) (Dkt. #2322) filed by Home Investment Fund II LP in the above-referenced

bankruptcy case and 11 U.S.C. § 362(e), the Court is of the opinion that continuation of the

automatic stay beyond the thirty (30)- day period as provided under the U.S. Bankruptcy Code

will not hinder, burden, delay or be inconsistent with this proceeding.

       IT IS, THEREFORE, ORDERED that any stay provided by 11 U.S.C. § 362(a) is hereby

continued in effect pending the conclusion of a final hearing and determination by the Court.

                                      ##END OF ORDER##
